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AO 2458 (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet I



                                           UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas
                                                                          )
               UNITED STA TES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                           v.                                             )
                       Nicholas Pena-Gonzalez
                                                                          )
                                                                          )       Case Number: 4:17-cr-00348-BSM-1
                                                                          )       USM Number: 22198-038
                                                                          )
                                                                          )        Sonia Fonticiella
                                                                          )       Defendant's Attorney
THE DEFENDANT:                                                                                                    FILED
                                                                                                              U.S. DISTRICT COURT
~ pleaded guilty to count(s)                                                                              EASTERN DISTRICT ARKANSAS
                                       1 of the Superseding Information
D pleaded nolo contendere to count(s)                                                                            NOV O4 2020
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.                                                                                                      DEP CLERK


The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended
18 U.S.C. § 1791(a)(2)             Possession of a Prohibited Object in Prison (Cell Phone),                4/19/2019               1s

                                   a Class A Misdemeanor



       The defendant is sentenced as provided in pages 2 through         _ _5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)

!i1 Count(s)      1 of the Indictment                   ~ is      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                           11/2/2020
                                                                         Date of Imposition of Judgment



                                                                        ~~~
                                                                         Signature of Judge




                                                                                       Brian S. Miller, United States District Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                  Judgment - Page   _2~_   of   5
 DEFENDANT: Nicholas Pena-Gonzalez
 CASE NUMBER: 4:17-cr-00348-BSM-1

                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  12 months, to run consecutive to the sentence currently being served in United States District Court in the District of Puerto
  Rico, Dkt. No. 97-CR-284-03




      il] The court makes the following recommendations to the Bureau of Prisons:
             Transfer to a facility in Florida is recommended.




      fill   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
             D at                                 D a.m.       D p.m.      on
                     ---------
             D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before 2 p.m. on
             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                           By--------~=~~~~~~
                                                                                             DEPUTY UNITED ST ATES MARSHAL
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page ~ of _ _ _         5__
DEFENDANT: Nicholas Pena-Gonzalez
CASE NUMBER: 4:17-cr-00348-BSM-1
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 No supervised release.




                                                      MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     D You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment -   Page       4    of        5
 DEFENDANT: Nicholas Pena-Gonzalez
 CASE NUMBER: 4:17-cr-00348-BSM-1
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                  Restitution                                    AVAA Assessment*               JVT A Assessment**
 TOTALS           $ 25.00                   $                        $                     $                              $



 D    The determination ofrestitution is deferred until
                                                        -----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless s~cified otherwise in
      the priori!)'. order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                   Total Loss***             Restitution Ordered            Priority or Percentage




 TOTALS                               $                           0.00        $                       0.00
                                                                                  ----------


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612( f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the              D fine   D restitution.
       D the interest requirement for the           D     fine    D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No.              115-299.
 ** Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters l09A, 1IO, l IOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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                       Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                                Judgment- Page    --5-      of      5
 DEFENDANT: Nicholas Pena-Gonzalez
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                                                            SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     !l1   Lump sum payment of$          25.00                     due immediately, balance due

             •    not later than                                         , or
             D    in accordance with      D C,          D    D,      D E,or        •    Fbelow; or

 B     D     Payment to begin immediately (may be combined with                  • c,       DD, or      D F below); or

 C     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $               ... over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal       _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                            (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     •     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D     Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penaHies, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                       Joint and Several               Corresponding Payee,
       (including defendant number)                               Total Amount                     Amount                         if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (SJ fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
